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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-02175

CHRISTOPHER TUCK,

        Plaintiff,

v.

SHERIFF STEVEN D. NOWLIN, in his individual capacity;
LIEUTENANT JEFFREY COPELAND, in his individual capacity;
DETECTIVE JOHN HAYNES, in his individual capacity;
THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF MONTEZUMA, in its
official capacity,

        Defendants.


     PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES



        Plaintiff Christopher Tuck, by and through his attorneys Tyrone Glover and Helen Oh of

TYRONE GLOVER LAW, LLC, respectfully submits his Response to Defendants’ Motion for

Attorneys’ Fees and states in support thereof:

                       INTRODUCTION AND RELEVANT PROCEDURAL HISTORY

        On June 1, 2023, the Court granted Plaintiff’s motion for leave to file a second amended

complaint,1 while awarding Defendants their reasonable fees incurred for their Response to the




1
  In relevant part, Plaintiff sought leave to amend after the deadline in the Scheduling Order after
discovering new information through Plaintiff’s own deposition and to cure deficiencies raised by
Defendants in their Motion for Judgment on the Pleadings. Pursuant to Fed. R. Civ. P. 15 and 16, Plaintiff
sought and was granted leave to file a second amended complaint to: (1) add allegations about the Farm
Bill and Plaintiff’s gardens being hemp and not marijuana; (2) add detail regarding Plaintiff’s property to
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Motion for Leave to Amend and Supplemental Brief. [See ECF 53.]

        Defendants’ response opposing Plaintiff’s motion for leave to amend was ten and one-

half pages (exclusive of the case caption and certificate) and argued Plaintiff did not carry his

burden to grant leave to amend under Fed. R. Civ. P. Rules 15 and 16. Defendants’ main

proposition was Plaintiff’s want of good cause under Rule 16 for lacking the diligence required

to justify late amendment where the new information obtained forming a basis to amend came

from Plaintiff’s own deposition.

        Defendants request an award of $8,069.00 in costs for their supplement and response to

Plaintiff’s motion for leave. [See ECF 57.] From Plaintiff’s calculations, see Ex. 1, Chart of

Defendants’ Ex. C-12 Defense counsel’s billing statements reflect 29.6 hours were billed related

to their response to Plaintiff’s motion to amend, equaling $4,333.00 in costs [see Defs’ Ex. C-1],

and 24.7 hours billed for their supplement, equaling to $3,722.00 in costs [see Defs’ Ex. C-2], for

a total of $8,055 in costs.

        Plaintiff does not object to the reasonableness of defense team’s billing rates or the

requested costs regarding their supplement. Plaintiff objects to half of the roughly thirty hours

expended by Defendants to respond to Plaintiff’s motion for leave to amend as excessive and

unreasonable considering the routine nature of the motion, lack of complex issues, defense




demonstrate his reasonable expectation of privacy; (3) briefly expound upon the drone’s camera
specifications; and (4) add Monell allegations against the County. No new claims or parties were added.
2
  Defendants’ motion for fees and corresponding exhibits provided the billing breakdown and total fees
requested, but did not provide hour/fee subtotals by person. Exhibit 1 was created by Plaintiff in Microsoft
Excel to efficiently review and calculate the total hours and costs expended by each member of the
defense team.
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counsel’s level of experience, and duplicate services provided. Accordingly, Plaintiff requests the

Court winnow the reasonable hours, and thereby costs by 50%, for a new total of $2,166.50

reasonably expended for Defendants’ response to Plaintiff’s motion to amend, bringing

Defendants’ total reasonable costs to $5,888.50.

                             NOTICE REGARDING FAILURE TO CONFER

       Defendants did not confer with Plaintiff regarding its motion for fees in accordance with

D.C.COLO.LCivR 7.1(a). As stated in the Court’s practice standards, the Court will not consider

any motion that fails to comply with D.C.Colo.LCivR7.1(a) and may strike the motion or deny it

as a matter of course. Considering the select scope of fees at issue, Plaintiff takes no position on

the foregoing.

                                         APPLICABLE LAW

       A party seeking fees must demonstrate the reasonableness of fees requested. Robinson v.

City of Edmond, 160 F.3d 1275, 1281 (10th Cir. 1998). “The reasonableness inquiry should be

assessed by the district court “much as a senior partner in a private law firm would review the

reports of subordinate attorneys when billing clients.” Ramos v. Lamm, 713 F.2d 546, 555 (10th

Cir. 1983). After examining the specific tasks and whether they are properly chargeable, the

district court should look at the hours expended on each task to determine if they are

reasonable.” Case by Case v. Unified Sch. Dist. No. 233, 157 F.3d 1243, 1250 (10th Cir. 1998). The

Court “must ensure that the [claimants] have exercised billing judgment,” so the hours actually

expended are winnowed to the hours reasonably expended. Case by Case, 157 F.3d at 1243.

       When determining the reasonableness of hours expended, courts in this circuit consider
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the following factors: “(1) whether the tasks being billed ‘would normally be billed to a paying

client,’ (2) the number of hours spent on each task, (3) ‘the complexity of the case,’ (4) ‘the

number of reasonable strategies pursued,’ (5) ‘the responses necessitated by the maneuvering of

the other side,’ and (6) ‘potential duplication of services’ by multiple lawyers.” Robinson, 160

F.3d at 1281 (quoting Ramos, 761 F.2d at 554). Where the number of claimed hours were

unnecessary, irrelevant, and duplicative, it is within the district court’s sound discretion to

reduce those hours. Carter v. Sedgwick County, Kan., 36 F.3d 952, 956 (10th Cir. 1994).

                                           ARGUMENT

  I.   Defendants’ 29.6 Hours Spent on its Response to Plaintiff’s Motion for Leave to
       Amend Were Unreasonable and Should be Reduced

           A. Procedural History and Summary of Argument

       A claimant must make a good faith effort to exclude from their fee request “hours that

are excessive, redundant, or otherwise unnecessary.” Jane L. v. Bangerter, 61 F.3d 1505, 1510 (10th

Cir. 1995). Defense counsel Mr. Vaughan billed 2.6 hours to draft the timeline of proceedings and

summary of argument, the latter of which was a short paragraph. See Defs’ Ex. C-1, p. 4; see also

Response to the Motion for Leave to Amend [ECF 52]. The timeline of proceedings contained a

bulleted list of Plaintiff’s proposed amendments, which was assigned to defense counsel Ms.

Morrissey as indicated in Defs’ Ex. C-1, who billed 1.1 hours to complete this task. As such, it

should not be considered a part of the 2.6 hours spent drafting the procedural history and

summary of argument. Considering Defendants’ prior recitations of procedural history in other

filings and the brevity of the summary of the argument, 2.6 hours expended on the foregoing was

excessive and should be reduced.
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             B. Lack of Good Cause and Untimeliness

        Mr. Vaughan billed 1.6 hours to research the “standard for amendments under Rule 15

and Rule 16 and case applications,’’ 1.8 hours drafting on failure to show good cause, 1.2 hours

researching the issue of untimeliness, 2.9 hours drafting on untimeliness, and another 2.2 hours

“drafting related to untimeliness and alternative request for relief.” See Defs’ Ex. C-1; see also

Ex. 1. Thus, Mr. Vaughan spent over nine hours researching and drafting good cause and

untimeliness, with about six or so hours spent on untimeliness3 alone. This was in addition to

Ms. Morrissey, who billed 2.4 hours drafting lack good cause and another 2.3 hours expanding on

the same. Ms. Morrissey separately billed 1.5 hours for research regarding lack of good cause

where new information was obtained through Plaintiff’s own knowledge/deposition, which

comprised the majority of Defendants’ substantive response. Together, Mr. Vaughan and Ms.

Morrisey spent 15.9 hours researching and drafting the good cause and timeliness issues, which

was five pages long.

        Responding to a motion for leave to amend a complaint is “routine” and “d[oes] not

require complex legal analysis,” whereby “the time devoted to th[is] pleading[] was excessive.”




3
 Defendants’ arguments addressing untimeliness in their response were limited to paragraphs 12, 18, and
19. See Defendants’ Response to Plaintiff’s Motion for Leave to Amend, ECF 52. Of those paragraphs, only
paragraph 18 contained new legal citations and arguments. Compare id., ¶ 12 (citing legal standards on
untimeliness) with McCain v. Taylor, Civil Case No. 09-cv-02982-LTB-KLM, 2010 U.S. Dist. LEXIS 69319,
at *2-3 (D. Colo. June. 17, 2010) (stating the same legal standards in the court’s order and where Mr.
Vaughan represented the defendant in his individual and official capacities). Considering defense
counsel’s level of experience and the lack of complexity of the issue, spending six hours on this issue was
not reasonable and warrants a significant reduction. See Peoria Tribe of Indians v. Campbell, 2022 U.S. Dist.
LEXIS 147349, at *16-17 (N.D. Okla. June 15, 2022) (finding excessive some of the time spent by counsel drafting and
researching their reply to a motion to remand considering its overall length and complexity, warranting a 30%
reduction).
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See Steffens v. Steffens, 2000 U.S. App. LEXIS 6912, at *18-19 (10th Cir. 2000) (affirming district

court’s determination of excessive fees regarding defendants’ response to plaintiff’s filing of a

second amended complaint and motions for discovery extensions); see also Peoria Tribe of

Indians, 2022 U.S. Dist. LEXIS, at *16-17 (finding the task of opposing a discovery motion routine

and should reasonably have been completed in about half the time warranting a 50% reduction

in costs, for a total of 22.65 hours for a 17-page motion). This is so even assuming the issue of

learned information from Plaintiff’s own deposition was novel to Defendants, as it is not a

complex legal issue.

       In addition, with Mr. Vaughan’s forty years of experience and both him and Ms. Morrissey

researching and drafting the issue of good cause, their hours reasonably expended researching

and drafting the lack of good cause should be reduced for duplication of services. See Latin v.

Bellio Trucking, Inc., 2016 WL 9725289, at *5 (D. Colo. Nov. 23, 2016) (finding some of the hours

expended slightly unreasonable and excessive due to duplication and vagueness). In sum

“[c]onsidering the arguments raised in the motion, the arguments raised in the response, the

lack of complexity of the issue, and the experience level of counsel,” Defendants’ time expended

responding to Plaintiff’s motion for leave to amend was excessive and merits a reduction.

Accordingly, the Court should find that half of Defendants’ hours spent and fees incurred

responding to Plaintiff’s motion to amend were reasonably spent, and reduce Defendants’

requested costs of $4,333 by 50%, for a total of $2,166.50 in reasonable costs regarding this

motion.

                                          CONCLUSION
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       WHEREFORE, the Plaintiff hereby moves this Honorable Court to issue an order

awarding Defendants $2,166.50 in reasonable costs for Defendants’ response to Plaintiff’s

motion to amend, bringing Defendants’ total reasonable costs to $5,888.50.

                                           TYRONE GLOVER LAW, LLC

                                           s/ Helen Oh
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on August 3, 2023, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the

following:

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